                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

In re:

GRANTLAND KINGMAN,                               Case No.: 3:20−bk−03304−JAF
AKA GRANT KINGMAN,                               Chapter: 7

         Debtor.                             /


                                  PROOF OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Notice And Order

Scheduling Preliminary Hearing On Motion For Relief From Stay (Doc. No. 27) was served

on March 4, 2021 by U.S. Mail, First Class to Grantland Kingman, 411 Walnut St, # 16120,

Green Cove Springs, FL 32043-3443; and those parties receiving CM/ECF service.


                                          McCalla Raymer Leibert Pierce, LLC

                            By:           /s/Neisi Garcia Ramirez
                                          Neisi Garcia Ramirez
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